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December 20, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:     Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH

Dear Judge Hixson:

        The parties jointly submit this letter brief on Plaintiffs’ crime-fraud challenge to Meta’s
claims of attorney-client privilege in redacted and withheld documents identified in Meta’s Third
Privilege Log (Email), Third Privilege Log (Non-Email), and Fourth Privilege Log served on
December 13 and 16. The parties met and conferred on December 17 but were unable to reach a
resolution.
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    I.   PLAINTIFFS’ POSITION
        Two hours before the close of fact discovery on December 13, 2024, Meta produced its
third set of privilege logs. Meta also produced a fourth privilege log on December 16. These logs
reveal that Meta has redacted or withheld almost 2,000 documents since early October. Plaintiffs
separately challenge whether many of these documents are privileged at all, but even assuming
they are, many are communications with counsel in furtherance of copyright infringement, DMCA
violations, and CDAFA violations and therefore must be produced under the crime-fraud doctrine.
         A. The Crime-Fraud Doctrine.
         Attorney-client communications lose protection “when the client consults the attorney to
further the commission of a crime or fraud.” In re Grand Jury Proceedings, 87 F.3d 377, 381 (9th
Cir. 1996). A party can invoke the crime-fraud exception where it shows (1) “the client was
engaged in or planning a criminal or fraudulent scheme when it sought the advice of counsel to
further the scheme” and (2) communications are “in furtherance of” and “sufficiently related to”
the illegality. Id. at 380–81. Courts in this Circuit routinely apply the exception even in cases where
no crime or fraud is directly alleged in the plaintiffs’ claims. See, e.g., In re Animation Workers
Antitrust Litig., 2016 WL 8198907, at *3 (N.D. Cal. Mar. 23, 2016) (applying the crime-fraud
exception to a civil antitrust claim). The test for crime-fraud asks only if there is “reasonable cause
to believe that the attorney’s services were utilized . . . in furtherance of the ongoing unlawful
scheme.” In re Grand Jury, 87 F.3d at 381 (quotations omitted). And the standard for in camera
review is even lower. It requires only “a minimal showing that the crime-fraud exception could
apply.” E.g., United States v. Christensen, 828 F.3d 763, 800 (9th Cir. 2015) (emphasis added).
        Further, application of crime-fraud doesn’t require that the in-house counsel involved be
aware that their “advice may further an illegal purpose.” United States v. Laurins, 857 F.2d 529,
540 (9th Cir. 1988). Rather, the client’s intent to violate the law and reliance on counsel in
furtherance of doing so is sufficient to overcome privilege. See In re Grand Jury, 87 F.3d at 381.1
         B. Meta’s In-House Counsel Engaged In and Advised Meta On Its Illegal Activity.
         Meta                (downloaded and distributed) copyrighted works in pirated datasets
(violating CDAFA), stripped works of CMI to conceal their copyrighted status (violating the
DMCA), and used them to train Llama (violating the Copyright Act). Meta engaged its in-house
counsel to approve, conceal, and justify this illegal scheme. An NYT article produced earlier in
discovery, entitled “How Tech Giants Cut Corners to Harvest Data for A.I.,” describes significant
in-house counsel involvement in Meta’s copyright infringement scheme. Dkt. 262-8. As the Times
explained, “some of the company’s business development leaders, engineers and lawyers met
nearly daily . . . . [and] talked about how they had summarized books, essays and other works from
the internet without permission and discussed sucking up more, even if that meant facing lawsuits.”
Id. at 8. Recordings of internal Meta meetings made clear that in-house counsel was not only aware
that Meta was using copyrighted data, but that they were involved in planning how to do so.
         Meta attempts to withhold infected communications under the guise of privilege, including:


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  Meta’s fair use defense is not relevant to the crime-fraud inquiry. Its argument that this was fair use after
the fact cannot negate a prima facie showing of crime-fraud. If the mere fact that Meta raised a defense to
Plaintiffs’ claim was sufficient to defeat the crime-fraud exception, then the exception would be
overwhelmed. Any abuse of the attorney-client relationship could be concealed simply by raising a defense.


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    II.   META’S POSITION
        Plaintiffs’ motion is based on the outrageous and baseless accusation that Meta employees’
consultation with in-house counsel on complex and novel issues of copyright law is not privileged
because it was intended to further a crime. Plaintiffs make this assertion notwithstanding that no
court has yet adjudicated whether such conduct even amounts to civil copyright infringement, and
despite Meta’s fair use defense, which is the central issue to be decided in this case. 2 Indeed,
Plaintiffs seek to short circuit a decision on the merits altogether, by having this Court decide, in
the context of a discovery dispute, that Meta’s conduct was criminal, which would be required in
order to grant Plaintiffs’ request and find that Meta somehow knew this when it sought legal advice
on these matters. No court has ever applied the crime-fraud exception in circumstances like these,
and for good reason. The attorney client privilege is intended to foster open communication with
lawyers on tough legal questions. That Meta did so here shows conscientiousness, not criminality.
Plaintiffs’ contrary arguments on rank conjecture do not entitle them to privileged communications
or even in camera review.
        To invoke the crime-fraud exception, Plaintiffs must first show that Meta was engaged in
or planning a criminal scheme. In re Napster, Inc. Copyright Litig., 479 F.3d 1078, 1090 (9th Cir.
2007). And even were they to meet that prong (which they do not), they “must [also] demonstrate
that the attorney-client communications for which production is sought are ‘sufficiently related to’
and were made ‘in furtherance of [the] intended, or present, continuing illegality.’” Id. In view of
the “irreparable consequences of disclosure,” id., “hard cases should be resolved in favor of the
privilege . . . ” See United States v. Mett, 178 F.3d 1058, 1065 (9th Cir. 1999).
        Plaintiffs have identified no crime or fraud. As an initial matter, of Plaintiffs’ four
theories of alleged criminal conduct in their motion, three (DMCA, CDAFA, distribution) are the
subject of proposed amendments to Plaintiffs’ complaint. ECF 300-11. None of these theories
presently exist in the case, and all fail for the reasons set forth in Meta’s opposition. ECF 329.
        Plaintiffs’ remaining theory—that Meta “used [copyrighted works] to train Llama”—is not
a theory of a crime or a fraud. Criminal copyright infringement requires proof both that
infringement occurred and that it was willful. 17 U.S.C. § 506. Meta has raised a defense of fair
use, which if successful would negate Plaintiffs’ claims. But even if Meta’s defense fails, a
reasonable belief that copying is fair use defeats allegations of willfulness. See Brayton Purcell
LLP v. Recordon & Recordon, 361 F. Supp. 2d 1135, 1142 & n. 2 (N.D. Cal. 2005) (citing
Princeton Univ. Press v. Mich. Document Servs., Inc., 99 F.3d 1381(6th Cir. 1996) (holding that
willfulness did not occur where defendants’ belief that their copying constituted fair use was
reasonable in light of the unsettled area of law)); see also, VHT, Inc. v. Zillow Grp., Inc., 918 F.3d
723, 748 (9th Cir. 2019) (“[The] alleged infringement does not constitute willfulness so long as
one believes reasonably, and in good faith, that he or she is not infringing.”). See also, Danjaq
LLC v. Sony Corp., 263 F.3d 942, 957-58 (9th Cir. 2001)(“[T]he term ‘willful’ refers to conduct
that occurs ‘with knowledge that the defendant's conduct constitutes copyright infringement.’”);
see also 4 Nimmer on Copyright § 14.04[B][3], at 14-53 (Dec. 2000).
          Nowhere have Plaintiffs alleged, nor could they, that Meta did not reasonably believe that

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 Plaintiffs, citing no authority, assert that fair use “is not relevant to the crime-fraud inquiry.”
Supra note 1, at 1. This is false, for the reasons discussed below.


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its downloading and use of certain datasets for AI training is fair use–an issue that is being tested
in multiple lawsuits across the U.S. Critically, to date no court or other authority has issued an
opinion regarding the legality of the conduct that Plaintiffs brand as a crime or fraud: gathering
data from the internet for training AI models, including through                 ; removing copyright
information (along with many other categories of repetitive information) from data prior to AI
training to improve model performance; and/or training AI models on copyrighted data. To the
contrary, this Court and the U.S. Copyright Office 3 have recognized that whether fair use applies
to the conduct alleged in this case is a novel question. Plaintiffs certainly have not established such
use was not fair. Indeed, even the New York Times article that Plaintiffs cite as supposed support
for their crime-fraud allegation describes Meta’s genuine belief that its use of copyrighted works
is fair. Accordingly, Meta employees’ efforts to work with counsel to navigate these issues can in
no way be viewed as furthering any unlawful scheme.
        Thus, this Court should reject Plaintiffs’ effort to invoke the crime-fraud exception because
there is no crime or fraud. See United States v. Zolin, 491 U.S. 554, 563 (1989) (“[T]he purpose
of the crime-fraud exception… [is] to assure that the ‘seal of secrecy’ between lawyer and client
does not extend to communications ‘made for the purpose of getting advice for the commission of
a fraud’ or crime.”); Haines v. Liggett Grp., Inc., 975 F.2d 81, 90 (3d Cir. 1992) (“The
communication condemned and unprotected by the attorney-client privilege is advice that is illicit
because it gives direction for the commission of future fraud or crime. The advice must relate to
future illicit conduct by the client; it is the causa pro causa, the advice that leads to the deed.”).
        Meta’s advice was not sought in furtherance of any crime. Furthermore, the crime-fraud
exception “applies only when there is ‘reasonable cause to believe that the attorney’s services were
utilized in furtherance of the ongoing unlawful scheme.’” United States v. Martin, 278 F.3d 988,
1001 (9th Cir. 2002) (citing In re Grand Jury Proceedings, 87 F.3d at 381). As explained, there
was no crime or fraud, and the inquiry ends there. But even assuming the existence of a crime or
a fraud—which there was not—there is zero evidence supporting the notion that Meta employees
sought or received legal advice in furtherance of a crime or a fraud.
        Put another way, Meta did not know and could not have known that the conduct alleged
was a fraud or a crime where no court has ever held that such conduct amounts even to civil
copyright infringement. Indeed, what Plaintiffs describe as a purported “criminal” scheme here is
exactly what the Second Circuit found to constitute fair use in Authors Guild v. Google, Inc., 804
F.3d 202, 229 (2d Cir. 2015). Plaintiffs cite to no case justifying their position that Meta’s fair use
defense is not applicable. (ECF 262, at 9 n.9.) Here, a finding of fair use would wholly negate a
finding of copyright infringement. 17 U.S.C. § 107 (“[T]he fair use of a copyrighted work . . . is
not an infringement of copyright.”). And fair use is the central issue in this case.
        In cases like this, where there is an open question regarding the legality of the conduct at
issue, Meta did what all clients should do: it sought guidance from its lawyers. Meta should not
be punished for doing so, and this basic tenet that underlies the privilege afforded such discussions
should be zealously protected. See Haines, 975 F.2d at 90 (citing 8 Charles Alan Wright & Arthur
R. Miller, Federal Practice and Procedure § 2017 (1970) and Chore-Time Equip., Inc v. Big

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  “Perlmutter told lawmakers fair use is ‘the most controversial of all the areas that we’re
addressing” in a forthcoming report. Ivan Moreno, Copyright Chief: Fair Use A Tough Issue In
Upcoming AI Report, LAW360 (Nov. 13, 2024), https://www.law360.com/articles/2258152/copy
right-chief-fair-use-a-tough-issue-in-upcoming-ai-report.


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2024                                      BOIES SCHILLER FLEXNER LLP


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